Case 2:05-cr-20250-.]PI\/| Document 62 Filed 08/29/05 Page 1 of 3 Page|D 69

 

IN THE U'NITED STATES DISTRIC'I` COURT N.EJBY___
FOR THE WESTERN DISTRIC'I` OF` TENNESSEE ‘“`"“'"°'D‘c
WESTERN DIVISION 05“|$29 an 6 ha
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UNI'I`ED STA'I`ES OF AMERICA W/DOF'[N UMHTMT

Plaintiff,

V'.

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Criminal No. Q.§ ~QO;'Z§Q Ml

(60-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, With trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

This document entered on the docket heat in compliance
with Ru|e§ 5 and/0r32(b) FRCrF’ on j' ',51:£`5

 

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SO ORDERED this 26th day of August, 2005.

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PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

('}M,¢.,Cc.\
"L'L'\

Assistant United States Attorney

 

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Counsel for Defendant(s)

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 62 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

